 Case 4:06-cr-00064 Document 107 Filed on 10/02/06 in TXSD Page 1 of 2




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §
                                               § CRIMINAL NO. H-06-0064-4
DAVID WAYNE JEROME,                            §
                                               §
Defendant.                                     §

                          MEMORANDUM AND ORDER

       Pending before the Court are Defendant’s motions for discovery and for

inspection of information (Docket No. 90), to adopt motions of other defendants (Docket

No. 91), for production of exculpatory evidence and for disclosure of impeaching

information (Docket No. 93), for leave to file additional motions (Docket No. 94), and to

reveal the identity of the alleged confidential informant (Docket No. 96). Docket Nos.

91, 93, 94, and 96 do not include a certificate of conference. The Court reminds the

parties that each and every non-dispositive motion must bear a proper certificate of

conference.   Further, the certificate of conference appended to Docket No. 90 is

inadequate, as it states simply that counsel have not conferred. Accordingly, the motions

are hereby DENIED WITHOUT PREJUDICE TO REFILING. If Defendant wishes

to refile the motions, he should confer with the United States as to whether the United

States opposes the motions and should include with each motion a valid certificate of

conference.




                                           1
Case 4:06-cr-00064 Document 107 Filed on 10/02/06 in TXSD Page 2 of 2




    IT IS SO ORDERED.

    SIGNED at Houston, Texas, on this the 2nd day of October, 2006.




                                       KEITH P. ELLISON
                                       UNITED STATES DISTRICT JUDGE



           TO INSURE PROPER NOTICE, EACH PARTY WHO RECEIVES
            THIS ORDER SHALL FORWARD A COPY OF IT TO EVERY
           OTHER PARTY AND AFFECTED NON-PARTY EVEN THOUGH
               THEY MAY HAVE BEEN SENT ONE BY THE COURT.




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